           Case 2:15-cr-03648-RB               Document 259            Filed 09/27/16         Page 1 of 15




                              IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                    Plaintiff,


v.                                                                                 No. 2:15-cr-3648 RB


AMADO ACEVEDO-GONZALEZ and
YOLANDA RODRIGUEZ,

                    Defendants.


                                 MEMORANDUM OPINION AND ORDER

           This matter is before the Court on Defendant Yolanda Rodriguez’s Motion for James

Hearing1 to Determine Admissibility of Co-Conspirators’ Statements, filed on August 8, 2016.

(Doc. 230.) Defendant Amado Acevedo-Gonzalez has joined in this motion. (Docs. 231, 258.)

The Court held a James hearing on September 19, 2016. Having considered the submissions of

counsel and relevant law, the Court finds that the statements identified in Government’s Exhibit

1 at the James hearing are admissible.

I.         Background

           The Indictment charges 20 Defendants with 45 counts including conspiracy; money

laundering; distribution of cocaine; possession with intent to distribute cocaine, marijuana, and

heroin; use of a communication facility to further the commission of a drug trafficking crime;

and reentry of removed aliens. (Doc. 19.) Eight Defendants are fugitives and ten Defendants




1
    See United States v. James, 590 F.2d 575 (5th Cir.), cert. denied, 442 U.S. 917 (1979).
       Case 2:15-cr-03648-RB          Document 259       Filed 09/27/16     Page 2 of 15




have pleaded guilty. Defendant Acevedo-Gonzalez and Defendant Rodriguez (hereinafter

“Defendants”) are set for trial beginning on October 3, 2016.

       Specifically as to Defendant Rodriguez, the Indictment charges three counts: Count 1,

conspiracy to distribute 5 kilograms and more of cocaine, contrary to 21 U.S.C. §§ 841(a)(1) and

(b)(1)(A), 100 kilograms and more of a mixture and substance containing a detectable amount of

marijuana, contrary to 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), and 100 grams and more of a

mixture and substance containing a detectable amount of heroin, contrary to 21 U.S.C. §§

841(a)(1) and (b)(1)(B), in violation of 21 U.S.C. § 846; Count 2, conspiracy to commit

international money laundering, in violation of 18 U.S.C. § 1956(h); and Count 30, transporting

U.S. currency out of the United States to promote distribution of a controlled substance, in

violation of 18 U.S.C. § 1956(a)(2), and aiding and abetting, in violation of 18 U.S.C. § 2. (Doc.

19.) With regard to the conspiracy, the Indictment alleges that Defendant Rodriguez committed

Overt Acts 23, 81, 82, and 83, which involve the transport of cocaine on February 4, 2015 and

the transport of drug proceeds on July 4, 2015. (Id.)

       Specifically as to Defendant Acevedo-Gonzalez, the Indictment charges three counts:

Count 1, conspiracy to distribute 5 kilograms and more of cocaine, contrary to 21 U.S.C. §§

841(a)(1) and (b)(1)(A), 100 kilograms and more of a mixture and substance containing a

detectable amount of marijuana, contrary to 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), and 100 grams

and more of a mixture and substance containing a detectable amount of heroin, contrary to 21

U.S.C. §§ 841(a)(1) and (b)(1)(B), in violation of 21 U.S.C. § 846; Count 28, possession with

intent to distribute over 100 kilograms of marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(D), and aiding and abetting, in violation of 18 U.S.C. § 2; and Count 29, use of a

communication facility to further a drug trafficking crime, in violation of 21 U.S.C. § 843(b).



                                                 2
       Case 2:15-cr-03648-RB           Document 259         Filed 09/27/16       Page 3 of 15




(Doc. 19.) With regard to the conspiracy, the Indictment alleges that Defendant Acevedo-

Gonzalez committed Overt Acts 77 and 78, which involve telephone calls concerning the

distribution of marijuana on July 4, 2015. (Id.)

       Defendants requested a James hearing to determine the admissibility of statements under

Rule 801(d)(2)(E) of the Federal Rules of Evidence. See United States v. James, 590 F.2d 575

(5th Cir.), cert. denied, 442 U.S. 917 (1979). The Court held a James hearing on September 19,

2016, and heard the testimony of DEA Agent Shea Shurley. At the hearing, the United States

presented a chart of the statements at issue as Government Exhibit 1.

II.    Standard

       Rule 801(d)(2)(E) of the Federal Rules of Evidence provides that “[a] statement is not

hearsay if . . . [t]he statement is offered against a party and is . . . a statement by a co-conspirator

of a party during the course and in furtherance of the conspiracy.” Fed. R. Evid. 801(d)(2)(E).

Before admitting co-conspirator statements under Rule 801(d)(2)(E), the Court must determine

by a preponderance of the evidence that (1) a conspiracy existed, (2) the defendant and the

declarant were members of the conspiracy, and (3) the declarant made the statements during the

course of and in furtherance of the conspiracy. See United States v. Thornburgh, 645 F.3d 1197,

1210 (10th Cir. 2011); United States v. Urena, 27 F.3d 1487, 1490 (10th Cir. 1994). The

Government bears the burden of demonstrating each of the three elements by a preponderance of

the evidence. Bourjaily v. United States, 483 U.S. 171, 175 (1987); United States v. Perez, 989

F.2d 1574, 1577 (10th Cir. 1993).

       In order to make these factual determinations, the district court may hold a pretrial

James” hearing or provisionally admit the statements on the condition that the prosecution

“connect up” the evidence and prove the existence of the predicate conspiracy through trial



                                                   3
       Case 2:15-cr-03648-RB          Document 259      Filed 09/27/16     Page 4 of 15




testimony or other evidence. United States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995). The

Tenth Circuit has strongly recommended that, before admitting statements of co-conspirators

under Rule 801(d)(2)(E), a district court should hold a pretrial hearing to determine whether the

alleged conspiracy existed. See id.; United States v. Townley, 472 F.3d 1267, 1273 (10th Cir.

2007). Because the admissibility of the statements is a preliminary determination governed by

Rule 104(a) of the Federal Rules of Evidence, “the district court has the discretion to consider

any evidence not subject to a privilege, including both the coconspirator statements the

government seeks to introduce at trial and any other hearsay evidence, whether or not that

evidence would be admissible at trial.” Owens, 70 F.3d at 1124.

III.   Summary of Evidence

       At the James hearing, Agent Shurley testified that the investigation commenced in

October 2014, when an undercover FBI agent arranged to purchase ten kilograms of cocaine.

Agents seized five kilograms of cocaine and learned that the source of the cocaine was Ignacio

Villalobos, a notorious drug trafficker.

       Mr. Villalobos is responsible for most of the narcotics imported into the United States

through the area of Palomas, Chihuahua, Mexico. Mr. Villalobos resides in Mexico and he is a

fugitive from justice in the United States. Mr. Villalobos is a member of La Linea, a drug cartel

based in Ciudad Juarez that controls the northwest Chihuahua area. During the relevant time

period, Arturo Vasquez-Barragan was in charge of La Linea. Mr. Vasquez-Barragan would give

orders to Edgar Estopellan, who in turn would direct Mr. Villalobos. Mr. Vasquez-Barragan, Mr.

Estopellan, and Mr. Villalobos operated the cartel from Mexico. Mr. Villalobos’s arm of the

cartel specialized in transporting cocaine and marijuana from Mexico to Albuquerque, New

Mexico, distributing the drugs, and transporting the cash proceeds back to Mexico.



                                               4
       Case 2:15-cr-03648-RB           Document 259      Filed 09/27/16      Page 5 of 15




       Mr. Villalobos and the members of his organization use BlackBerry Messenger as a

primary means of communication. BlackBerry Messenger is an internet-based application that

allows for instant messaging. The server for BlackBerry Messenger is located in the United

States and all messages are routed through that server. From January through August 2015,

agents received court authorization to intercept messages and phone calls from 13

communications devices used by members of the organization in both the United States and

Mexico.

       Through the intercepted communications, agents learned that Mr. Villalobos’s

organization transported the drugs across the border by backpackers or in false compartments

built into various types of vehicles, including tractor-trailer rigs, cars, and pickup trucks. Once

inside the United States, the marijuana and cocaine were transported by vehicle to an auto body

shop in Albuquerque operated by Jesus Muñoz, a member of the cartel. Mr. Muñoz would

unload the shipments and coordinate with Mr. Villalobos or Mr. Estopellan to distribute the

drugs. Mr. Muñoz was responsible for collecting the money from the drugs sales and sending the

money back to Mr. Estopellan. Typically, Mr. Muñoz would arrange for the money to be

transported back to Mexico wrapped in black electrical tape and concealed in vehicles.

       Government’s Exhibit 1 is a chart showing communications intercepted between

February 3, 2015 and August 12, 2015. (Govt. Ex. 1.) These intercepted messages establish that

Defendant Rodriguez’s role in the organization was to transport cocaine from Palomas to

Albuquerque and to transport drug proceeds from Albuquerque to Palomas. The messages also

establish that Mr. Acevedo-Gonzalez had prior dealings with the organization and his role was to

facilitate the distribution of marijuana.




                                                5
       Case 2:15-cr-03648-RB         Document 259       Filed 09/27/16     Page 6 of 15




        On February 3–5, 2015, Mr. Villalobos communicated with Mr. Estopellan, Mr. Muñoz,

and Jesus Prieto-Trevizo about distributing kilograms of cocaine and collecting proceeds of the

sales. On February 3, 2015, Mr. Villalobos informed Mr. Muñoz that the organization was

sending a courier to pick up the drug proceeds. Mr. Villalobos instructed Mr. Muñoz to divide

the cash in two packages. Agent Shurley testified that this meant that Mr. Villalobos wanted the

proceeds sent back in two vehicles in case one got caught.

        On February 5, 2015, communications between Mr. Muñoz and Mr. Villalobos indicated

that half the money would be packed in 11 bundles and sent south with a courier named Tomas.

Agents obtained the phone number for Tomas and tracked the phone with GPS. After tracking

Tomas and the truck to Las Cruces, New Mexico, agents arranged for a traffic stop. As a result

of the traffic stop, agents found 11 bundles of cash in the total amount of $174,290 hidden near

the radiator of the truck.

        On February 4, 2015, Mr. Villalobos and Mr. Prieto-Trevizo communicated about

arranging to send another courier to Albuquerque to pick up the other portion of the drug

proceeds. Mr. Prieto-Trevizo had been talking with “the lady” who was asking when there would

be opportunities to smuggle cocaine. Mr. Villalobos inquired whether it would be possible to

make a stash compartment in her vehicle and requested a photograph of her car battery.

        Mr. Villalobos inquired about the identity of “the lady” and Mr. Prieto-Trevizo described

her as “Yolanda that has La Hacienda Hotel.” Mr. Villalobos asked if she was “Yolanda, the

lesbian.” Mr. Prieto-Trevizo responded, “Yes, that’s the one.” Mr. Prieto-Trevizo indicated that

Yolanda had worked for the organization before by transporting money.

        Subsequent to intercepting these communications, agents learned that Defendant Yolanda

Rodriguez ran La Hacienda Hotel in Palomas and everyone in Palomas was aware that she was a



                                                6
       Case 2:15-cr-03648-RB           Document 259    Filed 09/27/16     Page 7 of 15




lesbian. Mr. Villalobos told Mr. Prieto-Trevizo that he would get approval from Mr. Vasquez-

Barragan to allow the cartel to use Yolanda to transport cocaine and drug proceeds. Mr.

Villalobos asked Mr. Prieto-Trevizo to determine whether Yolanda had any acquaintances who

would want to work for the cartel.

       On February 7, 2015, Mr. Estopellan communicated with Mr. Villalobos and confirmed

that Mr. Vazquez-Barragan had approved Yolanda to work for the cartel as a courier.

       On February 15, 2015, Mr. Villalobos and Rene Amaya communicated about two

different loads of drug proceeds: one of $30,000; and one of approximately $14,000. During the

communications, Mr. Villalobos stated that “yolanda” brought down a load of money.

       In April 2015, Mr. Muñoz communicated with an Unknown Male 317 (UM 317) about a

load that was on the way to Albuquerque and about when Mr. Muñoz could expect the arrival of

the truck. Mr. Muñoz also communicated with his assistant, Elier Jaime-Castillo, about a trailer

load that had been left at the shop.

       On April 12, 2015, Mr. Muñoz and Mr. Villalobos communicated about having the

money picked up from Mr. Muñoz and transported back to Mexico. During the communication,

they mentioned a phone number of a courier. Agents determined that the phone number was

linked to Emilia Quezada. In May 2015, agents intercepted Ms. Quezada with a load of money.

       On May 20, 2015, UM 317 and Mr. Muñoz communicated about a trailer en route to

Albuquerque with another load of narcotics. On May 20-21, 2015, Mr. Muñoz communicated

with Unknown Male 153 (UM 153) about distribution of marijuana and cocaine. Mr. Muñoz

communicated with UM 317 about unloading 180 pounds of marijuana.

       On May 25, 2015, Mr. Muñoz coordinated with Mr. Estopellan about transporting

proceeds from the sale of pounds of marijuana to Mexico. Mr. Estopellan confirmed that Mr.



                                               7
       Case 2:15-cr-03648-RB        Document 259       Filed 09/27/16     Page 8 of 15




Muñoz should deduct from the proceeds $2,150 for rent and $1,800 for his fees. Mr. Estopellan

provided Mr. Muñoz with the phone number of Ms. Quezada, who was coming to pick up the

money. Agents set up surveillance and stopped Ms. Quezada southbound on Interstate 25 and

found approximately $52,000 in her vehicle.

       On July 2, 2015, Mr. Muñoz received a load of marijuana from UM 317 in a trailer. Mr.

Muñoz and Mr. Estopellan communicated about how to distribute the marijuana. Mr. Muñoz was

in talks with UM 153 about whether he was interested in taking any of this shipment of

marijuana or if UM 153 had any other buyers that were interested. UM 153 was not able to buy

from this shipment.

       On July 3, 2015, Mr. Muñoz communicated with UM 153 and an individual named Oso

about distributing the marijuana. Mr. Muñoz told Mr. Estopellan that he had 171 pounds of

marijuana and he was looking for buyers to come purchase the marijuana from him. Mr.

Estopellan stated “let me coordinate” meaning that he would look for buyers.

       On July 4, 2015, Defendant Acevedo-Gonzalez called Mr. Muñoz and indicated that Mr.

Estopellan suggested that Mr. Muñoz had marijuana. Mr. Muñoz asked if Defendant Acevedo-

Gonzalez was going to bring him something and Defendant Acevedo-Gonzalez said he was

going to take Mr. Muñoz some paper. Agent Shurley testified that paper is code for money.

Defendant Acevedo-Gonzalez asked if it was the same place and Mr. Muñoz said that it was.

Defendant Acevedo-Gonzalez said that he was going to send his cousin “the one from the other

time.” These statements indicate that this was not the first time that Defendant Acevedo-

Gonzalez purchased marijuana from the organization.

       Mr. Muñoz communicated with Unknown Male 291 (UM 291), who told Mr. Muñoz that

“Amado” had told him to pick up something from Mr. Muñoz. Mr. Muñoz gave UM 291



                                               8
       Case 2:15-cr-03648-RB         Document 259        Filed 09/27/16     Page 9 of 15




directions to the shop to pick up the marijuana. On the afternoon of July 4, 2015, agents observed

Mr. Muñoz loading boxes into a white Jeep and a black car.

       Agents obtained GPS information from Defendant Acevedo-Gonzalez’s phone and

identified residences in Belen, New Mexico as well as the Costco parking lot in Albuquerque as

probable locations to find him. In the Costco parking lot, agents observed a truck with a license

plate registered to Defendant Amado Acevedo-Gonzalez. Shortly thereafter, agents saw

Defendant Acevedo-Gonzalez get into the truck with his family.

       On July 4, 2015, Mr. Muñoz texted with Mr. Estopellan and confirmed that the buyer

picked up the marijuana and paid $15,000 for it. Mr. Estopellan instructed Mr. Muñoz to deduct

his fee and that Mr. Estopellan would send a courier for the balance of the $15,000. Mr.

Estopellan texted Mr. Muñoz a phone number and the name Yolanda. Mr. Estopellan instructed

Mr. Muñoz to “call her in 15 minutes so you can give her that.” Agent Shurley testified that this

meant that Mr. Estopellan wanted Mr. Muñoz to arrange to give the money to Yolanda.

       Mr. Muñoz sent Mr. Jaime-Castillo to meet with Yolanda and provided her phone

number to Mr. Jaime-Castillo so that they could coordinate Mr. Jaime-Castillo delivering the

money to Yolanda. Mr. Muñoz, Mr. Jaime-Castillo, and Mr. Estopellan communicated about

how to reimburse Yolanda for expenses for the trip to Albuquerque. Ultimately, Mr. Estopellan

instructed them to give Yolanda $200 out of the drug proceeds that she was transporting.

Subsequently, Mr. Jaime-Castillo told Mr. Muñoz that “it’s done.”

       Agents entered the phone number for Yolanda into Facebook and it hit on Defendant

Yolanda Rodriguez’s Facebook page. Agents confirmed that some of the photographs on the

Facebook page depicted Defendant Rodriguez. Additionally, agents obtained records showing




                                                9
      Case 2:15-cr-03648-RB         Document 259        Filed 09/27/16         Page 10 of 15




that Defendant Rodriguez had crossed the international border from Palomas into Columbus,

New Mexico about two or three hours before the calls were intercepted.

       On July 5, 2015, Mr. Muñoz communicated with Fabian Gomez about the transaction

from the previous day. Agents had previously identified Mr. Gomez through phone pings and

locations from Defendant Acevedo-Gonzalez’s phone. Based on the investigation, it appeared

that Mr. Gomez was receiving narcotics from the drug trafficking organization and that Mr.

Gomez worked in conjunction with Defendant Acevedo-Gonzalez about receiving the marijuana

on July 4, 2015. Agents obtained phone records confirming that Mr. Gomez had communicated

with Mr. Jaime-Castillo on July 4, 2015.

       On August 12, 2015, UM 317 communicated with Mr. Muñoz about a trailer bound for

Mr. Muñoz’s shop in Albuquerque. The trailer was stopped at the immigration checkpoint on

Interstate 25. A search revealed that the trailer contained approximately 177 pounds of

marijuana. Intercepted communications indicate that Mr. Muñoz and UM 317 were aware that

the trailer was stopped at the checkpoint and that the marijuana was seized.

       On the same day, agents intercepted a load of approximately $40,000 that was being

transported from Albuquerque to Mexico by a courier. Because the marijuana and the money

was seized on the same day, members of the organization discontinued the use of their phones

and fled to Mexico. Mr. Muñoz became a fugitive in Mexico.

       On August 13, 2015 agents executed a search warrant for a known stash house used by

the organization and seized marijuana and heroin. Agents observed a vehicle leave the stash

house and followed the vehicle to a Wal-Mart parking lot. The driver abandoned the vehicle and

a search revealed that it contained approximately 50 pounds of marijuana. The driver was

identified as Mr. Jaime-Castillo.



                                                10
         Case 2:15-cr-03648-RB      Document 259        Filed 09/27/16     Page 11 of 15




         Investigations revealed that the phones used by Defendant Rodriguez and Defendant

Acevedo-Gonzalez contained the phone numbers of co-conspirators.

IV.      Discussion

         In order to admit evidence under Rule 801(d)(2)(E), the Court must determine by a

preponderance of the evidence that (1) the conspiracy existed, (2) the declarant and the defendant

were members of the conspiracy, and (3) the statements were made in the course of and in

furtherance of the conspiracy. United States v. Patterson, 713 F.3d 1237, 1245 (10th Cir. 2013).

To establish the existence of a conspiracy, the Government must show that (1) two or more

persons agreed to violate the law, (2) the defendant knew the essential objectives of the

conspiracy, (3) the defendant knowingly and voluntarily participated in the conspiracy, and (4)

the alleged coconspirators were interdependent. United States v. Small, 423 F.3d 1164, 1182

(10th Cir. 2005). To prove knowledge of the essential objectives of a conspiracy, the government

does not have to show the defendant knew all the details or all the members of a conspiracy. Id.

“Rather, the government only needs to demonstrate the defendant shared a common purpose or

design with his alleged coconspirators.” United States v. Yehling, 456 F.3d 1236, 1240 (10th Cir.

2006).

         When making its factual determination as to whether a conspiracy exists, the Court may

consider the proffered statements, along with independent evidence tending to establish the

conspiracy. See United States v. Lopez-Gutierrez, 83 F.3d 1235, 1242 (10th Cir. 1996) (holding

that the Court may consider co-conspirator statements in determining existence of conspiracy)

(citing Bourjaily v. United States, 483 U.S. 171 (1987)). It bears underscoring that, the

Government is not limited to “direct proof of an express agreement on the part of the defendant.




                                               11
      Case 2:15-cr-03648-RB         Document 259        Filed 09/27/16      Page 12 of 15




Instead the agreement may be informal and may be inferred entirely from circumstantial

evidence.” United States v. Pulido-Jacobo, 377 F.3d 1124, 1129 (10th Cir. 2004).

       The focal point for determining whether a conspiracy existed is the concept of

interdependence. United States v. Caldwell, 589 F.3d 1323, 1329 (10th Cir. 2009).

“Interdependence exists where co-conspirators ‘inten[d] to act together for their shared mutual

benefit within the scope of the conspiracy charged.’ ” Id. (quoting United States v. Evans, 970

F.2d 663, 671 (10th Cir. 1992)). This requires that “each [coconspirator’s] activities ‘constituted

essential and integral steps toward the realization of a common, illicit goal.’” United States v.

Edwards, 69 F.3d 419, 431 (10th Cir. 1995) (quoting United States v. Fox, 902 F.2d 1508, 1514

(10th Cir. 1990)). Interdependence is often proved by circumstantial evidence, United States v.

Hutchinson, 573 F.3d 1011, 1035 (10th Cir. 2009), and it does not require proof that the

conspirators know the identities or details of each scheme or have connections with all other

members of the conspiracy, United States v. Foy, 641 F.3d 455, 465 (10th Cir. 2011) (reviewing

a sufficiency challenge for plain error). In this case, the Government presented sufficient

evidence to establish the existence of a conspiracy to transport and distribute cocaine and

marijuana and transport the proceeds from the sales to Mexico.

       Defendants contend that they were not members of the conspiracy. The Tenth Circuit has

held that Bourjaily requires “at most, there . . . be some independent evidence linking the

defendant to the conspiracy.” United States v. Martinez, 825 F.2d 1451, 1453 (10th Cir. 1987).

Independent evidence need not be substantial to be found sufficient. United States v. Rascon, 8

F.3d 1537, 1541 (10th Cir. 1993). Generally there must be some evidence other than the

proffered statements themselves, but the required level of independent evidence is low. See

United States v. Lopez–Gutierrez, 83 F.3d 1235, 1242 (10th Cir. 1996) (“In making its



                                                12
      Case 2:15-cr-03648-RB         Document 259       Filed 09/27/16      Page 13 of 15




preliminary factual determination as to whether a conspiracy exists, the court may consider the

hearsay statement sought to be admitted, along with the independent evidence tending to

establish the conspiracy.”). Notably, a co-conspirator’s direct observations and contact with the

defendant qualify as independent evidence of a conspiracy. United States v. Hernandez, 829 F.2d

988, 995 (10th Cir. 1987).

       In this case, the intercepted communications are sufficient to show the existence of a

tacit, mutual understanding between both Defendants and the other members of the conspiracy.

See United States v. Sells, 477 F.3d 1226, 1236 (10th Cir. 2007) (inferring an agreement based

on frequent contacts among the defendants and joint actions). Additionally, the communications

were made in furtherance of the conspiracy because they were “intended to promote the

conspiratorial objectives.” United States v. Townley, 472 F.3d at 1273 (internal quotation

omitted).

       The Government has presented evidence that satisfies its burden with respect to

Defendant Yolanda Rodriguez. More specifically, Mr. Villalobos inquired about the identity of

“the lady” and Mr. Prieto-Trevizo described her as a “Yolanda that has La Hacienda Hotel.” Mr.

Villalobos asked if she was “Yolanda, the lesbian.” Mr. Prieto-Trevizo responded, “Yes, that’s

the one.” Subsequent to intercepting these communications, agents learned that Defendant

Yolanda Rodriguez ran La Hacienda Hotel in Palomas and everyone in Palomas was aware that

she was a lesbian.

       Mr. Estopellan texted Mr. Muñoz a phone number and the name Yolanda. Agents entered

the phone number for Yolanda into Facebook and it hit on Defendant Yolanda Rodriguez’s

Facebook page. Agents confirmed that some of the photographs on the Facebook page depicted

Defendant Rodriguez. Additionally, agents obtained records showing that Defendant Rodriguez



                                               13
      Case 2:15-cr-03648-RB        Document 259        Filed 09/27/16     Page 14 of 15




had crossed the international border from Palomas into Columbus, New Mexico about two or

three hours before the calls were intercepted. The phone used by Defendant Rodriguez contained

the phone numbers of co-conspirators.

       Similarly, the Government has met its burden with respect to Defendant Amado

Acevedo-Gonzalez. After Mr. Muñoz told Mr. Estopellan that he had 171 pounds of marijuana

and he was looking for buyers Mr. Estopellan stated “let me coordinate” meaning that he would

look for buyers. The next day, on July 4, 2015, Defendant Acevedo-Gonzalez called Mr. Muñoz

and indicated that Mr. Estopellan suggested that Mr. Muñoz had marijuana. Mr. Muñoz asked if

Defendant Acevedo-Gonzalez was going to bring him something and Defendant Acevedo-

Gonzalez said he was going to take Mr. Muñoz some money.

       Defendant Acevedo-Gonzalez asked if it was the same place and Mr. Muñoz said that it

was. Defendant Acevedo-Gonzalez said that he was going to send his cousin “the one from the

other time.” These statements suggest Defendant Acevedo-Gonzalez had purchased marijuana

from the organization on prior occasions. Mr. Muñoz communicated with UM 291, who told Mr.

Muñoz that “Amado” had told him to pick up something from Mr. Muñoz. Mr. Muñoz gave UM

291 directions to the shop to pick up the marijuana. That afternoon, agents observed Mr. Muñoz

loading boxes into a white Jeep and a black car. On July 4, 2015, Mr. Muñoz texted with Mr.

Estopellan and confirmed that the buyer picked up the marijuana and paid $15,000 for it. On July

5, 2015, Mr. Muñoz communicated with Mr. Gomez about the transaction from the previous day.

Agents had previously identified Mr. Gomez through phone pings and locations from Defendant

Acevedo-Gonzalez’s phone. Based on the investigation, it appeared that Mr. Gomez was

receiving narcotics from the drug trafficking organization and that Mr. Gomez worked in

conjunction with Defendant Acevedo-Gonzalez about receiving the marijuana on July 4, 2015.



                                              14
      Case 2:15-cr-03648-RB         Document 259        Filed 09/27/16     Page 15 of 15




Agents obtained phone records confirming that Mr. Gomez had communicated with Mr. Jaime-

Castillo on July 4, 2015. The phone used by Defendant Acevedo-Gonzalez contained the phone

numbers of co-conspirators.

       In this case, the Government has established by a preponderance of the evidence that the

conspiracy existed, the declarants and Defendants were members of the conspiracy, and the

statements were made in the course of and in furtherance of the conspiracy. Notably, the

members of the conspiracy worked together to transport controlled substances, distribute

controlled substances, and transport the proceeds of the sales of controlled substances to Mexico.

The co-conspirators and Defendants worked for the good of the overall organization. The

evidence presented at the James hearing shows by a preponderance of the evidence that

Defendants and the declarants shared the same criminal objectives.

V.     Conclusion

       The statements summarized in Government’s Exhibit 1 are admissible at trial under Rule

801(d)(2)(E).

       THEREFORE,

       IT IS ORDERED that the Defendants’ Motion for James Hearing to Determine

Admissibility of Co-Conspirators’ Statements, filed on August 8, 2016, (Doc. 230), is

GRANTED as to the request for the James hearing and DENIED as to the request to

exclude the statements.



                                                    ___________________________________
                                                    ROBERT C. BRACK
                                                    UNITED STATES DISTRICT JUDGE




                                               15
